Case 1:20-cv-02328-LDH-CLP Document 73 Filed 10/05/21 Page 1 of 3 PageID #: 1436




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 October 5, 2021

 By CM-ECF
 Hon. LaShann DeArcy Hall
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re: Islam et al. v. Cuomo et al., 20-CV-2328(LDH)(CLP)

 Dear Judge DeArcy Hall:

         Plaintiffs submit this letter motion to renew their January 5, 2021 letter motion seeking
 Defendants’ compliance with this Court’s July 28, 2020 order granting, in part, Plaintiffs’ motion
 for a preliminary injunction.

         Defendants are not in full compliance with the Court’s order as they have not taken steps
 to ensure that all app-based FHV driver claimants receive the full employee weekly benefit rate
 for all weeks in which claimants are entitled to benefits. Upon the initial filing of this motion for
 compliance, Plaintiff NYTWA noted that hundreds of its members were affected by this problem
 where, despite an increase in their prospective benefit rates, prior weeks’ benefit rates remained
 unchanged. See, Dkt. 49, at 3. DOL’s most recent submission on this issue indicated that
 according to their own query, this error affected thousands of app-based FHV driver claims. Dkt.
 65. While the DOL took measures to identify and correct the claims of many drivers, the
 NYTWA has continued to hear from members whose retroactive benefits have not been paid.
 Having engaged with its membership on this issue for a year, NYTWA believes it has exhausted
 its reach to the segment of the app-based FHV driver population that it is able to contact, and that
 its experience showed the widespread nature of the problem among driver-claimants;
 accordingly, Defendants must take steps to ensure that all potentially affected drivers are aware
 of this problem and the steps necessary to correct their claims.

         This underpayment of benefits for all weeks to app-based FHV driver claimants violates
 the Court’s order and the “when due” provision of the Social Security Act. Accordingly,
 Plaintiffs move for an Order requiring Defendants to provide targeted notice to all potentially
 affected app-based, FHV drivers by November 1, 2021.
Case 1:20-cv-02328-LDH-CLP Document 73 Filed 10/05/21 Page 2 of 3 PageID #: 1437




                                              Background
        Plaintiffs originally submitted a letter motion for compliance on January 5, 2021. A
 hearing was held on February 2, 2021, after which the parties conferred on multiple occasions to
 discuss the scope of the measures DOL had taken to identify and then issue payments to the
 approximately 16,000+ app-based FHV drivers who had yet to receive retroactive benefit
 increases after DOL processed prospective weekly benefit increases. See Plaintiff’s March 16
 Status Report, Dkt. 64. Plaintiffs continued to reach out to DOL to address the issue for any
 individual drivers who had contacted NYTWA, and the Court noted that “the onus does not rest
 exclusively with the plaintiffs to identify the problem.” Feb. 2, 2021 Tr., at 55:7-8.

         Ultimately, as described more fully in Plaintiff’s March 16 Status Report, while the DOL
 took corrective measures to resolve the issue for many drivers, the DOL was unable to
 demonstrate resolution of the problem. Dkt. 64. When Plaintiffs submitted our March 16 status
 report —after DOL had manually reviewed a subset of 17,000 app-based FHV drivers likely
 subject to the retroactive payment error and implemented forward-looking processes—the
 NYTWA was still identifying significant numbers of app-based FHV drivers who were missing
 retroactive benefits. Id, at 4. As such, the NYTWA asked the Court for a number of potential
 remedies, including targeted notice to app-based FHV drivers to inform them of their right to
 retroactive benefits for the weeks prior to their rate adjustment.

        On September 21, a brief hearing was held, wherein the Court instructed the parties to
 meet and confer. The initial motion for compliance was then dismissed, and Plaintiffs were
 ordered to renew the motion by October 5, 2021, if necessary.

               Remedying the DOL’s Ongoing Failure to Pay Benefits When Due
         Since September 21, the parties have met several times to discuss the scope and
 resolution of the DOL’s ongoing failure to ensure that claimants received retroactive benefits due
 them after their weekly benefit rate was adjusted to a higher rate.

         As described in the March 16 Status Report, Plaintiff NYTWA believes it has largely
 exhausted its reach to impacted claimants, as NYTWA’s membership represents only a portion
 of all app-based FHV drivers. However, Plaintiff NYTWA continues to receive periodic
 inquiries from drivers who have yet to receive their retroactive benefits, thus the NYTWA
 believe the problem may be ongoing for a number of claimants. See Dkt. 64, at 4 (comparing the
 scope of the problem as directly observed by NYTWA to the actual number of affected drivers,
 as stated by DOL).

          Although Defendants have implemented some measures to monitor new claims to ensure
 claimants receive retroactive benefits after their weekly rates are prospectively adjusted, these
 measures are insufficient. While the error that triggered the non-payment of retroactive benefits
 to at least a quarter of all app-based FHV claimants was caused by a systemic technical failure,
 the correctives pursued by the DOL, do not create a systemic technical fix to the problem.
 Instead, they are relying on self-reports from claimants and a new staff protocol for checking in
 on cases likely subject to this error.
Case 1:20-cv-02328-LDH-CLP Document 73 Filed 10/05/21 Page 3 of 3 PageID #: 1438




          Plaintiffs appreciate Defendants’ efforts to remedy the initial error through partial manual
 review of impacted claimants identified early in 2020, as well as Defendants’ ongoing attempts
 to remedy the situation by training staff to proactively identify and resolve errors that lead to the
 failure to pay retroactive benefits when due. However, Defendants have admitted that prior steps
 taken would not identify every driver affected by the retroactive payment issue. See Dkt. 64, at
 3. After performing one wide-ranging but imperfect system query to identify thousands of
 unpaid claims, Defendant did not repeat this system check on reconsiderations that were later
 processed, but instead trained staff to identify potentially problematic applications in a manner
 that, while useful, is likewise admittedly not a comprehensive solution to a payment problem that
 has affected a wide swath of the driver claimant population.

        Plaintiffs do not believe that such efforts have identified all of the drivers who may have
 been impacted. As such, Plaintiffs seek a targeted notice to app-based FHV drivers apprising
 them of the issue and instructing claimants on how to remedy it. Plaintiffs are concerned that
 such notice should be distributed to driver-claimants as soon as possible; the large majority of
 claims have ended, and based on experience, Plaintiffs believe that as more time elapses, many
 claimants will become harder to reach and will be less likely to respond to communications from
 the DOL regarding what they understand to be closed UI claims. Defendants, as described in
 their March 16th submission to this Court, have been amenable to such notice and remain so. See
 Dkt 65, at 4. The parties have been engaged in productive discussions regarding the details of
 such notice, but have not yet reached an agreement as to the format, content, and distribution of
 such a notice.

                                               Conclusion
          Plaintiffs’ initial and primary concern continues to be that app-based FHV drivers receive
 the full amount of benefits they are owed. Plaintiffs remain eager and willing to work with
 Defendants to ensure that this happens. To facilitate this, Plaintiffs request that the Court direct
 the parties to submit a joint status report on October 19, apprising the Court of the parties’
 progress towards finalizing a notice, and that the Court order Defendants to send a targeted and
 detailed notice to all app-based FHV driver claimants, informing them of their right to receive
 their full benefit amount for all weeks and the steps necessary to do so by November 1, 2021.

 Respectfully Submitted,

 /s/ Zubin Soleimany
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 cc: Counsel of Record (via CM/ECF)
